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                              UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF CONNECTICUT
                                    BRIDGEPORT DIVISION

     ERICA LAFFERTY; DAVID WHEELER;                                 )
     FRANCINE WHEELER; JACQUELINE                                   )
     BARDEN; MARK BARDEN; NICOLE                                    )   Adv. Pro. No. 22-05004 (JAM)
     HOCKLEY; IAN HOCKLEY; JENNIFER                                 )
     HENSEL; JEREMY RICHMAN; DONNA SOTO;                            )
     CARLEE SOTO-PARISI; CARLOS                                     )
     M. SOTO; JILLIAN SOTO; AND WILLIAM                             )
     ALDENBERG; RICHARD M. COAN, TRUSTEE                            )
     OF THE BANKRUPTCY ESTATE OF ERICA L.                           )
     GARBATINI F/K/A ERICA LAFFERTY                                 )   RE: ECF No. 6
                                                                    )
     Plaintiffs,                                                    )
                                                                    )
     v.                                                             )
                                                                    )
     ALEX EMRIC JONES; INFOWARS, LLC; FREE                          )
     SPEECH SYSTEMS, LLC; INFOWARS HEALTH,                          )
     LLC; PRISON PLANET TV, LLC; WOLFGANG                           )
     HALBIG; CORY T. SKLANKA; GENESIS                               )
     COMMUNICATIONS NETWORK, INC.; and                              )
     MIDAS RESOURCES, INC.,                                         )
                                                                    )
     Defendants.
     __________________________________________

 SUPPLEMENTAL FILING IN SUPPORT OF MOTION FOR ORDER SHORTENING
  NOTICE PERIOD AND SCHEDULING EXPEDITED HEARING ON PLAINTIFFS’
                       MOTION FOR REMAND

          These cases were removed to this Court to serve one purpose and one purpose only: delay. 1

Every day that these cases are frozen on the Connecticut Superior Court docket is a day that Alex



 1
  There are three consolidated cases in the Connecticut Superior Court: Lafferty v. Jones (UWY- CV18-6046436-
 S), Sherlach v. Jones (UWY-CV18-6046437-S), and Sherlach v. Jones (UWY- CV18-6046438-S). These cases
 were removed to this Court under case names and docket numbers Lafferty v. Jones (22-05004), Sherlach v. Jones
 (22-05005), and Sherlach v. Jones (22-05006). This identical brief is being filed in each of the three bankruptcy
 cases.



                                                         1
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Jones avoids accountability and delays trial. Every day they are removed harms these families’

fight for justice.

         To ensure that this intolerable abuse of the removal process ends immediately, all of the

plaintiffs in these cases – David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden,

Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-Parisi, Carlos M. Soto,

Jillian Soto, William Aldenberg, William Sherlach, Robert Parker, Erica L. Garbatini f/k/a Erica

Lafferty, and Richard M. Coan, Trustee of the Bankruptcy Estate of Erica Garbatini (“the

plaintiffs”) – voluntarily dismissed all of their claims against Infowars, LLC (aka InfoW, LLC);

Infowars Health, LLC (aka IWHealth, LLC); and Prison Planet TV, LLC (hereafter “the shell

company debtors”). 2 Those claims are now dismissed without need of any action by the Court.

See, e.g., Thorp v. Scarne, 599 F.2d 1169, 1171 n.1 (2d Cir. 1979) (dismissal under Fed. R. Civ.

P. 41(a)(1) is automatic, “[n]o action by the court is necessary to effectuate the dismissal.”).

         As a result of these dismissals, the shell company debtors are no longer defendants in these

three removed cases, and the plaintiffs are no longer creditors in the Texas bankruptcy. These

removed actions now concern only claims against nondebtor defendants Alex Emric Jones, Free

Speech Systems, LLC and Genesis Communications Network, Inc. The plaintiffs therefore request

that the Court order expedited hearing and immediate remand.

         I.       Expedited Hearing Should Be Granted Because, As a Result of these
                  Dismissals, the Court Has No Jurisdiction

         Before the plaintiffs’ claims against the debtors were dismissed, these cases were non-core

proceedings that the Court should shed from its docket via permissive abstention or equitable

remand. Now these cases are not even non-core proceedings, and there is no “related to”


2
 Earlier today, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i) and Fed. R. Bankr. P. 7041, the plaintiffs voluntarily
dismissed their claims against the shell company debtors (ECF No.16).


                                                           2
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jurisdiction. The only defendants remaining in these actions – Alex Emric Jones; Free Speech

Systems, LLC; and Genesis Communications Network, Inc. – are not debtors in bankruptcy at all. 3

        Bankruptcy courts “may only hear a non-core proceeding if it is ‘related to’ a bankruptcy

action.” 176-60 Union Tpk., Inc. v. Howard Beach Fitness Ctr., Inc., 209 B.R. 307, 310-11

(S.D.N.Y. 1997). A bankruptcy court’s “related to” jurisdiction, moreover, cannot be limitless.”

Celotex Corp. v. Edwards, 514 U.S. 300, 308 (1995). Congress has “vested limited authority in

bankruptcy courts.” Id. (quotation marks omitted). It intended non-core “related to” proceedings

“to be proceedings of a very limited kind.” In re Ben Cooper, Inc., 896 F.2d 1394, 1399 (2d

Cir.), vacated on other grounds, 498 U.S. 964 (1990). Thus, “any controversy having only [a]

speculative, indirect or incidental effect on the estate is not ‘related to’ the bankruptcy action.”

176-60 Union Tpk., Inc., 209 B.R. at 313 (S.D.N.Y. 1997) (quotation marks omitted).

        The plaintiffs now assert no claims against the shell company debtors’ respective estates.

“[T]here [can] be no conceivable detriment to the administration of the bankruptcy estate in a case

where no claim has been asserted ‘against’ the bankruptcy estate in the bankruptcy court.” 176-60

Union Tpk., Inc., 209 B.R. at 314 (emphasis in original). Comity now requires that this Court order

a remand: allowing a litigant to “force the resolution” of a “pre-petition . . . state law claim in

bankruptcy court merely by filing a petition in bankruptcy would be flatly inconsistent with . . .

the right to a jury trial protected in judicial proceedings by state and federal law rights.” Id.




3
  Indeed, Alex Jones and Free Speech Systems, LLC have elected not to file bankruptcy at this time, presumably to
avoid making the significant financial disclosures required by the Bankruptcy Code and the rules of bankruptcy
procedure, as well as to avoid submitting to the sweeping discovery powers afforded to creditors concerning their
finances under Fed. R. Bankr. P. 2004, or even the potential appointment of a bankruptcy trustee.


                                                        3
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        II.    The Need for Abstention or Equitable Remand is Even Stronger

        Even if the court had “related to” jurisdiction – which plaintiffs believe it does not – the

dismissal of all claims against the debtors weighs strongly in favor of permissive abstention under

28 U.S.C. § 1334(c)(1) and equitable remand under 28 U.S.C. § 1452(b). The “presence in the

proceeding of nondebtor parties” is an important factor courts consider when determining whether

to exercise permissive abstention or equitable remand. See, e.g., In re Granoff, 242 B.R. 216, 220

(Bankr. D. Conn. 1999) (Dabrowski, J.). Now that all claims against the debtors are dismissed, the

only parties present in this proceeding are nondebtors. Accordingly, the Court should immediately

remand this action to Connecticut Superior Court where the parties may proceed to the scheduled

jury trial.

        For all these reasons, expedited hearing and immediate remand is now required.




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    Dated: Bridgeport, Connecticut                       By: /s/ Alinor C. Sterling
           May 2, 2022                                      Alinor C. Sterling (Fed. Bar No. ct17207)
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                                                              Counsel for the Plaintiffs 4




                                                         By: /s/ Eric Goldstein
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                                                              Counsel for the Individual Plaintiffs 5




4
 Koskoff, Koskoff & Bieder represents the Individual Plaintiffs (as defined in Footnote 6 below) as well as Richard
M. Coan, solely in his capacity as Chapter 7 Trustee of the bankruptcy estate of Erica L. Garbatini.

5
 In connection with this proceeding, Shipman & Goodwin LLP represents Erica L. Garbatini f/k/a Erica Lafferty,
David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel,
Donna Soto, Carlee Soto-Parisi, Carlos Mathew Soto, Jillian Soto, William Aldenberg, William Sherlach, and Robert
Parker (collectively, the “Individual Plaintiffs”).


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                                  CERTIFICATE OF SERVICE

       I hereby certify that on May 2, 2022, a copy of the foregoing Supplemental Filing in

Support of Motion for Order Shortening Notice Period and Scheduling Expedited Hearing on

Plaintiffs’ Motion for Remand was filed electronically and served by mail on anyone unable to

accept electronic filing. Notice of this filing will be sent by e-mail to all parties by operation of

the Court's electronic filing system or by First Class mail to anyone unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court’s CM/ECF System.

       I further certify that on May 2, 2022, a copy of the foregoing Supplemental Filing in

Support of Motion for Order Shortening Notice Period and Scheduling Expedited Hearing on

Plaintiffs’ Motion for Remand was also served via U.S. First Class prepaid postage on the

following parties listed below:

 Wolfgang Halbig                                       Cory T. Sklanka
 25526 Hawks Run Lane                                  515 Gracey Avenue
 Sorrento, FL 32776                                    Meriden, CT 06451

 Genesis Communications Network, Inc.                  Midas Resources, Inc.
 Attn. Officer, Managing Agent or Agent for            Attn. Officer, Managing Agent or Agent for
 Service                                               Service
 190 Cobblestone Lane                                  190 Cobblestone Lane
 Burnsville, MN 55337                                  Burnsville, MN 55337

 Norman A. Pattis                                      James H. Fetzer, PH.D.
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                                                      /s/ Alinor C. Sterling
                                                      ALINOR C. STERLING
                                                      CHRISTOPHER M. MATTEI

                                                      /s/ Eric Goldstein
                                                      ERIC GOLDSTEIN
                                                      JESSICA M. SIGNOR




                                          7
